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 6                         IN THE UNITED STATES DISTRICT COURT
 7                                FOR THE DISTRICT OF ARIZONA
 8
 9   Estados Unidos Mexicanos,                          No. CV-22-00472-TUC-RM
10                   Plaintiff,                         ORDER
11   v.
12   Diamondback           Shooting          Sports
     Incorporated, et al.,
13
                     Defendants.
14
15             Pending before the Court are Plaintiff Estados Unidos Mexicanos’ Motions to
16   Strike Affirmative Defenses. (Docs. 64, 65.) Defendants responded in opposition (Docs.
17   76, 77), and Plaintiff replied (Docs. 81, 82). The Court finds the Motions appropriate for
18   resolution without a hearing.
19        I.      Legal Standard
20             Under Rule 12(f) of the Federal Rules of Civil Procedure, a “court may strike from
21   a pleading an insufficient defense or any redundant, immaterial, impertinent, or
22   scandalous matter.” The purpose of a Rule 12(f) motion is to avoid spending time and
23   money “litigating spurious issues.” Sidney-Vinstein v. A.H. Robins Co., 697 F.2d 880,
24   885 (9th Cir. 1983). However, Rule 12(f) motions “are generally disfavored” due to “the
25   strong policy favoring resolution on the merits” and because such “motions may be used
26   as delaying tactics.” Barnes v. AT&T Pension Ben. Plan-Nonbargained Program, 718 F.
27   Supp. 2d 1167, 1170 (N.D. Cal. 2010). “Given their disfavored status, courts often
28   require a showing of prejudice by the moving party before granting” a Rule 12(f) motion.
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 1   Mag Instrument, Inc. v. JS Prods., Inc., 595 F. Supp. 2d 1102, 1106 (C.D. Cal. 2008)
 2   (internal quotation marks omitted).
 3          There is a split in authority regarding whether the pleading standards set forth in
 4   Bell Atlantic Corp v. Twombly, 550 U.S. 544 (2007), and Ashcroft v. Iqbal, 556 U.S. 662
 5   (2009), apply to affirmative defenses. See Ernest Bock, LLC v. Steelman, No. 2:19-cv-
 6   01065-JAD-EJY, 2021 WL 4750726, at *2 (D. Nev. Sept. 22, 2021). This Court is
 7   persuaded that “[t]he text of Federal Rule of Civil Procedure 8, the principles underlying
 8   the Supreme Court’s decisions in [Twombly and Iqbal], . . . the practicalities of pretrial
 9   litigation,” and Ninth Circuit authority post-dating Twombly and Iqbal all weigh against
10   extending Twombly and Iqbal to affirmative defenses. Loi Nguyen v. Durham Sch.
11   Servs., L.P., 358 F. Supp. 3d 1056, 1057 (C.D. Cal. 2019). First, Rule 8 requires a party
12   asserting a claim for relief to provide “a short and plain statement of the claim showing
13   that the pleader is entitled to relief,” whereas defenses and affirmative defenses need only
14   be “state[d].” Fed. R. Civ. P. 8(a)(2), (b)(1)(A), (c)(1) (emphasis added). Twombly and
15   Iqbal address the requirements for showing a pleader is entitled to relief for purposes of
16   Rule 8(a); neither opinion discusses affirmative defenses.             Furthermore, practical
17   distinctions—including the amount of time each party has to compose their respective
18   pleadings—“weigh against extending [Twombly and Iqbal] to affirmative defenses.” Loi
19   Nguyen, 358 F. Supp. 3d at 1061. Finally, the Ninth Circuit has implicitly rejected
20   application of Twombly and Iqbal to affirmative defenses by affirming, post-Twombly
21   and Iqbal, that the “fair notice” pleading standard governs defenses and requires only that
22   defenses be described “in general terms.” Kohler v. Flava Enters., Inc., 779 F.3d 1016,
23   1019 (9th Cir. 2015) (internal quotation marks omitted). Accordingly, the Court finds
24   that Twombly and Iqbal do not apply to affirmative defenses. An affirmative defense is
25   insufficiently pled only if it fails to provide the plaintiff with “fair notice of the nature of
26   the defense.” Wyshak v. City Nat’l Bank, 607 F.2d 824, 827 (9th Cir. 1979) (per curiam).
27          If a defense is sufficiently pled, “a motion to strike which alleges the legal
28   insufficiency” of the defense “will not be granted unless it appears to a certainty” that the


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 1   plaintiff “would succeed despite any state of the facts which could be proved in support
 2   of the defense.” Barnes, 718 F. Supp. 2d at 1170 (internal quotation marks omitted).
 3             If a defense is stricken, leave to amend should freely be given “[i]n the absence of
 4   prejudice to the opposing party.” Wyshak, 607 F.2d at 826.
 5       II.      Discussion
 6             On April 8, 2024, Defendants Diamondback Shooting Sports, Inc., Loan Prairie,
 7   LLC d/b/a The Hub, SnG Tactical, LLC, and Sprague Sports, Inc. (collectively, “DHSS
 8   Defendants”), and Defendant Ammo A-Z LLC (“Ammo A-Z”), answered Plaintiff’s
 9   Complaint and asserted affirmative defenses. (Docs. 52, 53, 54, 54, 56.) Plaintiff asks
10   the Court to strike 29 of the 31 affirmative defenses asserted by DHSS Defendants
11   (“DHSS Affirmative Defenses”), and 36 of the 40 affirmative defenses asserted by
12   Ammo A-Z (“Ammo A-Z Affirmative Defenses”), without leave to amend. (Docs. 64,
13   65.)1
14             A. Defenses Invoking Comparative Fault of Mexico or United States
15             Plaintiff argues that DHSS Affirmative Defenses 6, 7, and 16, and Ammo A-Z
16   Affirmative Defenses 2, 7, 22, and 31, improperly seek to shift blame to the governments
17   of Mexico and the United States. (Doc. 64 at 8-10; Doc. 65 at 8-10.)2
18                       1. DHSS Affirmative Defense 6; Ammo A-Z Affirmative Defense 2
19             DHSS Affirmative Defense 6 and Ammo A-Z Affirmative Defense 2 allege that
20   Plaintiff failed to add indispensable parties to this case, including the United States
21   government; straw purchasers; firearm traffickers; the people who allegedly committed
22   crimes with firearms sold by Defendants; Mexican officials who allegedly supply illegal
23   firearms to cartels; foreign sources of firearms for cartels in Mexico; and cartel members,
24
     1
       The affirmative defenses asserted by DHSS Defendants are identical, except that
25   Sprague Sports omitted the other DHSS Defendants’ Affirmative Defense 13. DHSS
     Defendants state that this omission was unintentional and indicate that Sprague Sports
26   will seek to amend its Answer following the Court’s resolution of Plaintiff’s Motions to
     Strike. (Doc. 76 at 3 n.2). For ease of reference, the Court cites only to Defendant
27   Diamondback Shooting Sports, Inc.’s Answer (Doc. 52) when discussing the defenses
     asserted by DHSS Defendants.
28   2
       All record citations refer to the page numbers generated by the Court’s electronic filing
     system.

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 1   associates, and agents. (Docs. 52 at 56-57; Doc. 56 at 51-52.) Plaintiff argues that the
 2   individuals and entities named by Defendants are not indispensable parties because
 3   Arizona’s comparative fault rules require assessing percentages of fault to all persons
 4   who contributed to a plaintiff’s damages, regardless of whether the person is named as a
 5   party to the suit. (Doc. 64 at 8-9; Doc. 65 at 8-9.) Defendants argue that the failure to
 6   join an indispensable party is a proper affirmative defense when the party is identified,
 7   and that they have a right to assert that other parties are responsible for the harm that
 8   Plaintiff has alleged. (Doc. 76 at 5; Doc. 77 at 6-7.)
 9          Asserting a defense based on the failure to join an indispensable party is proper,
10   and Defendants have provided fair notice by identifying the parties they assert are
11   indispensable and providing information as to why they believe the parties are
12   indispensable. See Westwood v. Brott, No. 22-cv-03374-CRB, 2022 WL 17418975, at *6
13   (N.D. Cal. Dec. 5, 2022); Snow Covered Capital, LLC v. Weidner, No. 2:19-cv-00595-
14   JAD-NJK, 2019 WL 6719526, at *4 (D. Nev. Nov. 22, 2019). Plaintiff has not shown to
15   a certainty that the parties identified by Defendants are not indispensable parties, nor has
16   Plaintiff shown any prejudice from Defendants’ assertion of these affirmative defenses;
17   discovery regarding the fault of all contributing parties will be necessary regardless of
18   whether the Court strikes these affirmative defenses because, as Plaintiff states, Arizona’s
19   comparative fault rules require assessing percentages of fault to all persons who
20   contributed to a plaintiff’s damages. See A.R.S. § 12-2506(B). Accordingly, Plaintiff’s
21   Motions to Strike will be denied with respect to DHSS Affirmative Defense 6 and Ammo
22   A-Z Affirmative Defense 2.
23                    2. DHSS Affirmative Defenses 7 and 16; Ammo A-Z Affirmative
24                        Defenses 7, 22, and 31
25          DHSS Affirmative Defense 7 and Ammo A-Z Affirmative Defense 22 allege that
26   Plaintiff failed to exercise reasonable care to protect its citizens from cartel violence.
27   (Doc. 52 at 57; Doc. 56 at 56.)        DHSS Affirmative Defense 16 and Ammo A-Z
28   Affirmative Defense 7 assert that Plaintiff’s damages should be reduced by the


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 1   comparative fault of others, including Plaintiff. (Doc. 52 at 58; Doc. 56 at 53.) Ammo
 2   A-Z Affirmative Defense 31 asserts “illegality as to Plaintiff’s conduct.” (Doc. 56 at 58.)
 3          Plaintiff argues that these affirmative defenses fail to provide fair notice of
 4   Plaintiff’s purported negligence and “illegality.” (Doc. 64 at 9; Doc. 65 at 9.) Plaintiff
 5   further argues that any inquiry involving Mexican officials acting in their official
 6   capacities is barred by the act of state doctrine, and any inquiry into the fault of
 7   government agencies of the United States is barred by the political question doctrine.
 8   (Doc. 64 at 9-10; Doc. 65 at 9-10.) Finally, Plaintiff argues that these defenses must be
 9   stricken to prevent Defendants from fishing for evidence of purportedly illegal
10   government activity that has no bearing on the well-pled allegations of the Complaint.
11   (Doc. 64 at 10; Doc. 65 at 10.)
12          Defendants argue that these defenses are proper affirmative defenses that easily
13   meet the fair notice standard. (Doc. 76 at 5-6; Doc. 77 at 7.) Defendants further argue
14   that there is no basis at this juncture to conclude that either the act of state doctrine or
15   political question doctrine is applicable. (Doc. 76 at 6-7; Doc. 77 at 7-8.) Finally,
16   Defendants argue that basic principles of fairness and due process give them a right to
17   evaluate whether Plaintiff’s own actions or inactions contributed to the alleged harm and
18   damages at issue in this case. (Doc. 76 at 7; Doc. 77 at 8.)
19          Plaintiff has not shown to a certainty that the act of state doctrine and political
20   question doctrine preclude inquiry into the comparative fault of Plaintiff or United States
21   agencies. “[T]he act of state doctrine is a substantive defense on the merits” that “bars
22   suit where (1) there is an official act of a foreign sovereign performed within its own
23   territory; and (2) the relief sought or the defense interposed in the action would require a
24   court in the United States to declare invalid the foreign sovereign’s official act.” Sea
25   Breeze Salt, Inc. v. Mitsubishi Corp., 899 F.3d 1064, 1068-69 (9th Cir. 2018) (internal
26   quotation and alteration marks omitted). The political question doctrine is a jurisdictional
27   restriction on “a court’s power under Article III to hear a case” involving “political
28   decisions that are by their nature committed to the political branches to the exclusion of


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 1   the judiciary.” Corrie v. Caterpillar, Inc., 503 F.3d 974, 980-81 (9th Cir. 2007) (internal
 2   quotation marks omitted). Because the doctrines preclude suit, it is not clear they are
 3   applicable here, where Plaintiff is the one asserting the doctrines. Furthermore, Plaintiff
 4   has not adequately shown at this time the substantive requirements for application of the
 5   doctrines.
 6          DHSS Affirmative Defenses 7 and 16 and Ammo A-Z Affirmative Defenses 7 and
 7   22 provide fair notice that Defendants are asserting Plaintiff’s damages should be reduced
 8   by the comparative fault of others, including Plaintiff’s alleged failure to exercise
 9   reasonable care to protect its citizens from cartel violence. The Court agrees, however,
10   that Ammo A-Z Affirmative Defense 31 fails to provide fair notice of the asserted
11   “illegality” at issue. The Court will strike Ammo A-Z Affirmative Defense 31, with
12   leave to amend, and will deny Plaintiff’s Motion to Strike DHSS Affirmative Defense 7
13   and 16 and Ammo A-Z Affirmative Defenses 7 and 22.
14          B. Fair Notice
15          Plaintiff argues that DHSS Affirmative Defenses 5, 9, 12-14, and 30, and Ammo
16   A-Z Affirmative Defenses 1, 13, 26-28, and 32-34 fail to provide fair notice of the nature
17   and grounds of the defenses asserted. (Doc. 64 at 10-14; Doc. 65 at 10-15.)
18                    1. Statute of Limitations: DHSS Affirmative Defense 5 and Ammo
19                        A-Z Affirmative Defense 1
20          DHSS Affirmative Defense 5 and Ammo A-Z Affirmative Defense 1 allege that
21   Plaintiff’s claims are barred in whole or in part by the applicable statute of limitations.
22   (Doc. 52 at 56; Doc. 56 at 51.) Plaintiff argues the Court should strike these affirmative
23   defenses because Defendants have not identified the applicable statute of limitations or
24   which claims are allegedly barred. (Doc. 64 at 11-12; Doc. 65 at 11-12.) Defendants
25   contend that a bare bones recitation of a standard and well-recognized affirmative defense
26   like the statute of limitations is sufficient to provide fair notice, particularly where the
27   allegations of Plaintiff’s Complaint span across decades. (Doc. 76 at 8-9; Doc. 77 at 9-
28   10.)


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 1          In Wyshak, the Ninth Circuit held that a defendant provided fair notice of a statute
 2   of limitations defense where the answer simply alleged that the plaintiff’s claims were
 3   “barred by the applicable statute of limitations,” but an attached memorandum identified
 4   the specific statute of limitations upon which the defendant relied. 607 F.2d at 827.
 5   Wyshak indicates that a defendant must disclose—either in the answer or another filing—
 6   the specific statute of limitations upon which it relies in order to provide fair notice of a
 7   statute of limitations defense.    As Defendants here have not identified the specific
 8   statute(s) of limitation on which they rely, the Court will strike DHSS Affirmative
 9   Defense 5 and Ammo A-Z Affirmative Defense 1, with leave to amend.
10                     2. Failure to Mitigate: DHSS Affirmative Defense 9 and Ammo A-
11                        Z Affirmative Defense 13
12          DHSS Affirmative Defense 9 and Ammo A-Z Affirmative Defense 13 allege that
13   Plaintiff failed to mitigate its damages. (Doc. 52 at 57; Doc. 56 at 54.) Plaintiff argues
14   the Court should strike these affirmative defenses because Defendants provide no
15   explanation of how, when, or why Plaintiff failed to mitigate its damages. (Doc. 64 at 12;
16   Doc. 65 at 12.) Defendants argue that DHSS Affirmative Defense 9 and Ammo A-Z
17   Affirmative Defense 13 “provide Plaintiff with fair notice that Defendants intend to
18   investigate through discovery whether Plaintiff failed to mitigate damages or engaged in
19   conduct that caused the harm at issue in the Complaint,” including discovery regarding
20   how firearms end up with cartels and whether Plaintiff has armed cartels. (Doc. 76 at 9-
21   10; Doc. 77 at 10.) Defendants further contend that courts routinely permit defendants to
22   plead failure to mitigate damages without specific factual allegations. (Doc. 76 at 10;
23   Doc. 77 at 10-11.)
24          The Court finds that Defendants’ Answers, when read as a whole and in light of
25   the allegations of Plaintiff’s Complaint, are sufficient to provide Plaintiff with fair notice
26   of Defendants’ position that Plaintiff failed to mitigate its damages by failing to control
27   cartel violence within its borders. Accordingly, the Court will deny Plaintiff’s Motions to
28   Strike with respect to DHSS Affirmative Defense 9 and Ammo A-Z Affirmative Defense


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 1   13.
 2                    3. Estoppel and Unclean Hands: DHSS Affirmative Defense 12 and
 3                        Ammo A-Z Affirmative Defense 33
 4          DHSS Affirmative Defense 12 alleges that Plaintiff is estopped from claiming
 5   damages “because of Plaintiff’s negligence, improper conduct, acquiescence and/or
 6   inaction in failing to curtail or remedy” cartel violence, including through the doctrine of
 7   unclean hands. (Doc. 52 at 57.) Ammo A-Z Affirmative Defense 33 “pleads the defense
 8   of estoppel.”   (Doc. 56 at 58.)     Plaintiff argues that the Court should strike these
 9   affirmative defenses because Defendants fail to indicate which estoppel defense they are
10   asserting and fail to plead any factual basis for an estoppel or unclean hands defense.
11   (Doc. 64 at 13-14; Doc. 65 at 13.) DHSS Defendants argue that their Answers provide
12   fair notice that they assert Plaintiff should be estopped from recovering damages arising
13   from acts that Plaintiff encouraged, endorsed, and caused. (Doc. 76 at 10.) Ammo A-Z
14   argues that estoppel is a well-established defense, the application of which is self-
15   explanatory, particularly where, as here, Defendants clearly contend that Plaintiff’s own
16   actions or inactions have caused or contributed to the damages at issue. (Doc. 77 at 10-
17   11.)
18          When read in the context of DHSS Defendants’ Answers as a whole and
19   Defendants’ briefs filed in this action, DHSS Affirmative Defense 12 provides fair notice
20   of an unclean hands defense. See POM Wonderful LLC v. Coca Cola Co., 166 F. Supp.
21   3d 1085, 1092 (C.D. Cal. 2016) (unclean hands defense requires proof that the plaintiff
22   engaged in inequitable conduct relating to the subject matter of the claims). However,
23   neither DHSS Affirmative Defense 12 nor Ammo A-Z Affirmative Defense 33 provide
24   fair notice of an estoppel defense. Defendants do not specify which estoppel doctrine
25   they rely upon and, assuming Defendants are relying upon equitable estoppel, they do not
26   identify any misrepresentations of fact or reasonable reliance. See Restatement (2d) of
27   Torts § 894 (1979). Accordingly, the Court will grant Plaintiff’s Motion to Strike with
28   respect to Defendants’ estoppel defenses, with leave to amend.


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 1                    4. Punitive Damages: DHSS Affirmative Defenses 13 and 14;
 2                        Ammo A-Z Affirmative Defenses 26-28
 3          DHSS Affirmative Defense 13 and Ammo A-Z Affirmative Defense 28 allege that
 4   Plaintiff’s claim for punitive damages is precluded by A.R.S. § 12-689. (Doc. 52 at 57;
 5   Doc. 56 at 58.) DHSS Affirmative Defense 14 and Ammo A-Z Affirmative Defenses 26-
 6   27 allege that Plaintiff’s claim for punitive damages is barred by various clauses of the
 7   United States and Arizona Constitutions. (Doc. 52 at 57-58; Doc. 56 at 56-58.) Plaintiff
 8   argues that the Court should strike these affirmative defenses because Defendants
 9   identify no factual bases for them and therefore the defenses fail to provide fair notice.
10   (Doc. 64 at 13; Doc. 65 at 14.) Defendants argue that these defenses are explicit in their
11   citations to legal authority and clearly provide fair notice. (Doc. 76 at 10-11; Doc. 77 at
12   11.)
13          The Court finds that DHSS Affirmative Defenses 13 and 14, and Ammo A-Z
14   Affirmative Defenses 26-28, when read in the context of the statutes cited therein as well
15   as in the context of the Complaint and the Answers as a whole, are sufficiently pled to
16   provide fair notice. Furthermore, whether “punitive damages are unavailable” is an issue
17   “clearly material to the case,” Kanaan v. Yaqub, 709 F. Supp. 3d 864, 870 (N.D. Cal.
18   2023), and Plaintiff has identified no prejudice from Defendants’ assertion of these
19   affirmative defenses. Accordingly, the Court will deny Plaintiff’s Motion to Strike with
20   respect to these defenses.
21                    5. Assumption of Risk: Ammo A-Z Affirmative Defense 32
22          Ammo A-Z Affirmative Defense 32 “pleads the defense of assumption of risk.”
23   (Doc. 56 at 58.) Plaintiff argues that this defense provides no factual basis as to how
24   Plaintiff assumed the risk of Defendant’s conduct. (Doc. 64 at 13.) Ammo A-Z argues
25   that assumption of the risk is a well-established defense the application of which is self-
26   explanatory, and that merely naming the defense is therefore sufficient to provide fair
27   notice. (Doc. 77 at 10.)
28          The Court agrees with Plaintiff that Ammo A-Z Affirmative Defense 32 does not


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 1    provide fair notice of the grounds for Defendant’s assertion that Plaintiff assumed the risk
 2    of Defendant’s conduct, nor are the grounds for the defense self-explanatory under the
 3    circumstances of this case. The Court will strike Ammo A-Z Affirmative Defense 32
 4    with leave to amend.
 5                     6. Laches: DHSS Affirmative Defense 30 and Ammo A-Z
 6                         Affirmative Defense 34
 7           DHSS Affirmative Defense 30 and Ammo A-Z Affirmative Defense 34 allege that
 8    Plaintiff’s claims are barred by the doctrine of laches. (Doc. 52 at 60; Doc. 56 at 58-59.)
 9    Plaintiff argues that Defendants plead no facts showing an unreasonable delay by
10    Plaintiff, nor any facts showing prejudice, and therefore Defendants have failed to
11    provide fair notice of a laches defense. (Doc. 64 at 14; Doc. 65 at 14-15.) Defendants
12    argue that a standard, well-recognized affirmative defense like laches provides fair notice
13    even when made without a factual basis or a showing of plausibility, particularly when
14    read in conjunction with the Complaint’s allegations asserting occurrences dating back 20
15    years. (Doc. 76 at 8-9; Doc. 77 at 9-10.)
16           When read in the context of the Answers as a whole and the allegations of the
17    Complaint, DHSS Affirmative Defense 30 and Ammo A-Z Affirmative Defense 34
18    provide fair notice of a laches defense. Accordingly, Plaintiff’s Motion to Strike will be
19    denied with respect to these defenses.
20           C. Denials of Plaintiff’s Allegations
21           Plaintiff argues that the Court should strike affirmative defenses that merely
22    constitute a denial of elements of Plaintiff’s claims, because they are not true affirmative
23    defenses, and their assertion may result in prejudice, delay, and confusion of the issues.
24    (Doc. 64 at 14-18; Doc. 65 at 15-19.)
25                     1. Protection of Lawful Commerce in Arms Act: DHSS Affirmative
26                         Defense 1 and Ammo A-Z Affirmative Defense 14
27           DHSS Affirmative Defense 1 and Ammo A-Z Affirmative Defense 14 allege that
28    Plaintiff’s claims are barred by the Protection of Lawful Commerce in Arms Act. (Doc.


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 1    52 at 56; Doc. 56 at 54.) Plaintiff argues that this defense constitutes a mere denial of
 2    Plaintiff’s claims rather than an affirmative defense, because the PLCAA does not grant
 3    Defendants immunity if Plaintiff’s allegations are proven true. (Doc. 64 at 18-19; Doc.
 4    65 at 15.)     Defendants argue that DHSS Affirmative Defense 1 and Ammo A-Z
 5    Affirmative Defense 14 are proper affirmative defenses based on statutory immunity, and
 6    that the Court’s ruling on their Motion to Dismiss does not preclude Defendants from
 7    litigating the applicability of the PLCAA based on the evidence revealed during the
 8    course of discovery. (Doc. 76 at 12-13; Doc. 77 at 12-13.)
 9           In ruling on Defendants’ Motion to Dismiss, the Court found that the PLCAA does
10    not bar Plaintiff’s claims when the allegations of Plaintiff’s Complaint are taken as true.
11    (Doc. 50 at 10-15.)         “Proper affirmative defenses plead matters extraneous to the
12    plaintiff’s prima facie case, which deny plaintiff’s right to recover, even if the allegations
13    of the complaint are true.” J&J Sports Prods., Inc. v. Catano, No. 1:12-cv-00739-LJO-
14    JLT, 2012 WL 5424677, at *3 (E.D. Cal. Nov. 6, 2012) (internal quotation and alteration
15    marks omitted).     Because this Court has ruled that the PLCAA does not preclude
16    Plaintiff’s claims if Plaintiff’s allegations are true, DHSS Affirmative Defense 1 and
17    Ammo A-Z Affirmative Defense 14 may be more appropriately construed as denials
18    rather than affirmative defenses. Given the lack of prejudice to Plaintiff, however, the
19    Court declines to strike these affirmative defenses. See Schmitz v. Asman, No. 2:20-cv-
20    00195-DAD-CKD PS, 2023 WL 2541848, at *4 (E.D. Cal. Mar. 16. 2023) (noting that,
21    because “it is difficult to find prejudice in the mislabeling of a denial as an affirmative
22    defense, . . . courts are split on whether it is appropriate to strike affirmative defenses that
23    are in fact denials”).
24                      2. Standing: DHSS Affirmative Defenses 2 and 18; Ammo A-Z
25                             Affirmative Defense 3
26           DHSS Affirmative Defenses 2 and 18,3 and Ammo A-Z Affirmative Defense 3,
27
      3
         Specifically, DHSS Affirmative Defense 2 asserts that Plaintiff lacks Article III
28    standing and DHSS Affirmative Defense 18 asserts that Plaintiff lacks parens patriae
      standing. (Doc. 52 at 56, 58-59.)

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 1    assert that Plaintiff lacks standing. (Doc. 52 at 56, 58-59; Doc. 56 at 52.) Plaintiff argues
 2    that lack of standing is not an affirmative defense but, rather, a matter that Plaintiff bears
 3    the burden of proving. (Doc. 64 at 15; Doc. 65 at 16.) Plaintiff further argues that
 4    Defendants’ standing defenses fail to provide fair notice because they do not identify
 5    which counts Plaintiff lacks standing to assert. (Doc. 64 at 15 n.7; Doc. 65 at 16 n.11.)
 6    Defendants argue that lack of standing has routinely been recognized as an appropriate
 7    affirmative defense. (Doc. 76 at 13; Doc. 77 at 12.)
 8           Defendants’ Answers provide fair notice of lack-of-standing defenses, particularly
 9    when read in light of other filings, including Defendants’ Motion to Dismiss. And
10    although “standing is an essential element of a plaintiff’s claim, some courts have
11    recognized it as an affirmative defense.” Kohler v. Bed Bath & Beyond of Cal., LLC, No.
12    CV 11–4451 RSWL(SPx), 2012 WL 424377, at *3 (C.D. Cal. Feb. 8, 2012).
13    Furthermore, even if DHSS Affirmative Defenses 2 and 18, and Ammo A-Z Affirmative
14    Defense 3, are more appropriately construed as non-affirmative defenses, Kanaan, 709 F.
15    Supp. 3d at 869, Plaintiff has not identified any prejudice warranting striking the
16    defenses. Accordingly, the Court declines to strike DHSS Affirmative Defenses 2 and
17    18, and Ammo A-Z Affirmative Defense 3.
18                      3. Proximate Causation: DHSS Affirmative Defenses 3, 8, 11, and
19                         28; Ammo A-Z Affirmative Defenses 5, 6, 8, 15, 17, 19-24, and 39
20           DHSS Affirmative Defenses 3, 8, 11, and 28, and Ammo A-Z Affirmative
21    Defenses 5, 6, 8, 15, 17, 19-24, and 39, assert defenses focused on a lack of proximate
22    causation.4 (Doc. 52 at 56-57, 59; Doc. 56 at 52-56, 59.) Plaintiff argues that these
23    4
        Specifically, DHSS Affirmative Defense 3 alleges that Plaintiff’s claims fail due to a
      lack of proximate causation. (Doc. 52 at 56.) DHSS Affirmative Defense 8 alleges that
24    Plaintiff’s damages were proximately caused by others and that Plaintiff’s recovery
      should be reduced accordingly. (Id. at 57.) DHSS Affirmative Defense 11 alleges that
25    criminal actions committed subsequent to Defendants’ firearms sales and before the
      alleged harm to Plaintiff are superseding and intervening causes of Plaintiff’s damages.
26    (Id. at 57.) DHSS Affirmative Defense 28 alleges that Plaintiff’s claims are too remote
      and derivative to permit recovery. (Id. at 59.) Ammo A-Z Affirmative Defense 5 alleges
27    that acts and omissions of Plaintiff and third parties are independent causes of Plaintiff’s
      damages. (Doc. 56 at 52.) Ammo A-Z Affirmative Defense 6 alleges that Plaintiff’s
28    damages were solely caused by the intentional or negligent acts of persons over whom
      Ammo A-Z had no control or duty to control. (Id.) Ammo A-Z Affirmative Defense 8

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 1    defenses are not proper affirmative defenses because Plaintiff bears the burden of proving
 2    causation. (Doc. 64 at 16-17; Doc. 65 at 17.) Plaintiff further argues that these defenses
 3    fail to provide fair notice because they do not specify which acts or omissions of Plaintiff
 4    or third parties caused Plaintiff’s injuries. (Doc. 64 at 17 n.10; Doc. 65 at 17 n.13.)
 5    Defendants argue proximate causation defenses are proper affirmative defenses. (Doc.
 6    76 at 13-14; Doc. 77 at 12.)
 7           Lack of proximate causation has been recognized as an affirmative defense. See
 8    G&G Closed Cir. Events, LLC v. Mitropoulos, No. CV12–0163–PHX DGC, 2012 WL
 9    3028368, at *2 (D. Ariz. July 24, 2012). Furthermore, Defendants’ Answers, when read
10    as a whole and in light of the allegations of Plaintiff’s Complaint and the contents of the
11    parties’ briefs on Defendant’s Motion to Dismiss, provide fair notice of the grounds for
12    defenses premised on lack of proximate causation. For these reasons, and given the lack
13    of any prejudice to Plaintiff warranting striking the defenses, the Court will deny
14    Plaintiff’s Motion to Strike these affirmative defenses.
15                     4. Comparative Fault: Ammo A-Z Affirmative Defenses 9, 11
16           Ammo A-Z Affirmative Defense 9 alleges that Plaintiff’s damages must be
17    reduced by the percentage of Plaintiff’s negligence or the negligence of others who
18    contributed to Plaintiff’s injuries. (Doc. 56 at 53.) Ammo A-Z Affirmative Defense 11
19    asserts that Plaintiff’s damages were caused or contributed to by the intentional or
20
21    alleges that Plaintiff’s damages were caused by third parties not under Ammo A-Z’s
      control. (Id. at 53.) Ammo A-Z Affirmative Defense 15 asserts a lack of proximate
22    causation due to third parties’ criminal misuse of firearms. (Id. at 54-55.) Ammo A-Z
      Affirmative Defense 17 denies proximate causation. (Id. at 55.) Ammo A-Z Affirmative
23    Defense 19 alleges Ammo A-Z’s conduct is too remote to support proximate causation.
      (Id.) Ammo A-Z Affirmative Defense 20 alleges that Plaintiff’s damages were not
24    reasonably anticipable. (Id.) Ammo A-Z Affirmative Defense 21 alleges a lack of a
      causal relationship between Defendant’s conduct and Plaintiff’s damages. (Id. at 55-56.)
25    Ammo A-Z Affirmative Defense 22 alleges that Plaintiff failed to undertake precautions
      to protect its citizens. (Id. at 56.) Ammo A-Z Affirmative Defense 23 asserts that
26    Plaintiff’s claims are barred by superseding and intervening intentional, negligent,
      reckless, and/or criminal acts of third parties. (Id.) Ammo A-Z Affirmative Defense 24
27    asserts that superseding forces and/or actions of parties or third parties proximately
      caused or contributed to Plaintiff’s damages. (Id.) Ammo A-Z Affirmative Defense 39
28    asserts that the conduct at issue is too remote and derivative to permit recovery. (Id. at
      59.)

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 1    negligent acts of persons over whom Ammo A-Z has no control or duty to control and
 2    that the fault of such persons should be compared pursuant to comparative fault laws.
 3    (Id. at 54.) Plaintiff argues that these defenses are defective because they merely deny
 4    that Defendant caused Plaintiff’s injuries and damages, which Plaintiff bears the burden
 5    of proving.    (Doc. 64 at 17.)     Ammo A-Z argues that these defenses are proper
 6    affirmative defenses. (Doc. 77 at 12.)
 7           Comparative fault is a “well-known affirmative defense[.]” Schmitz, 2023 WL
 8    2541848, at *4. Furthermore, when Ammo A-Z’s Answer is read as a whole and in the
 9    context of the Complaint, these comparative fault defenses provide fair notice.
10    Accordingly, Plaintiff’s Motion to Strike will be denied with respect to Ammo A-Z
11    Affirmative Defenses 9 and 11.
12                     5. Failure to State a Claim: DHSS Affirmative Defense 4; Ammo
13                         A-Z Affirmative Defense 4
14           DHSS Affirmative Defense 4 and Ammo A-Z Affirmative Defense 4 asserts that
15    Plaintiff’s Complaint fails to state claims on which relief can be granted. (Doc. 52 at 56;
16    Doc. 56 at 52.) Plaintiff argues that a defense of failure to state a claim is not a proper
17    affirmative defense because it merely asserts a defect in Plaintiff’s prima facie case.
18    (Doc. 64 at 15-16; Doc. 65 at 18.) Defendants concede that these defenses do not
19    technically constitute affirmative defenses but argue that the correct remedy is not to
20    strike the defenses but, rather, to treat them as non-affirmative defenses and/or denials.
21    (Doc. 76 at 12; Doc. 77 at 16.)
22           Given the disfavored nature of Rule 12(f) motions to strike and the lack of
23    prejudice to Plaintiff, the Court declines to strike these defenses and instead construes
24    them as non-affirmative defenses. See Kanaan, 709 F. Supp. 3d at 869 (finding failure to
25    state a claim is a non-affirmative defense).
26                     6. Economic Loss Rule: DHSS Affirmative Defense 10 and Ammo
27                         A-Z Affirmative Defense 35
28           DHSS Affirmative Defense 10 and Ammo A-Z Affirmative Defense 35 assert that


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 1    Plaintiff’s claims for damages are barred by the economic loss doctrine. (Doc. 52 at 57;
 2    Doc. 56 at 59.) Plaintiff argues that this defense constitutes a mere denial of Plaintiff’s
 3    allegations, and that the economic loss doctrine is not a legally cognizable affirmative
 4    defense. (Doc. 64 at 20; Doc. 65 at 18-19.) Defendants argue that the economic loss rule
 5    is a proper affirmative defense. (Doc. 76 at 14; Doc. 77 at 15.)
 6           Some courts have recognized the economic loss rule as a proper affirmative
 7    defense. See, e.g., Barnhart v. Am. Home Mortg. Serv., Inc., No. 2:11-cv-569-FtM-
 8    99SPC, 2012 WL 366930, at *5 (M.D. Fla. Feb. 3, 2012) (“economic loss rule is a valid
 9    affirmative defense”); Lafky Props., LLC v. Global Credit Union, No. 1:19-cv-00413-
10    DCN, 2020 WL 4736296, at *4 n.3 (D. Idaho Aug. 14, 2020) (same). Even if these
11    defenses are more appropriately construed as denials, given the lack of prejudice to
12    Plaintiff, the Court declines to strike DHSS Affirmative Defense 10 and Ammo A-Z
13    Affirmative Defense 35.
14                     7. Duty of Care: DHSS Affirmative Defenses 17 and 22; Ammo A-
15                         Z Affirmative Defenses 10, 16
16           DHSS Affirmative Defenses 17 and 22, and Ammo A-Z Affirmative Defenses 10
17    and 16, assert that Defendants did not owe Plaintiff a legal duty. (Doc. 52 at 58-59; Doc.
18    56 at 53, 55.) Plaintiff argues that these defenses merely constitute a denial of the
19    allegations of the Complaint. (Doc. 64 at 17; Doc. 65 at 19.) Defendants concede that
20    these defenses do not technically constitute affirmative defenses, and they ask the Court
21    to treat them as denials and/or non-affirmative defenses. (Doc. 76 at 12; Doc. 77 at 16.)
22           Given the disfavored nature of Rule 12(f) motions and the lack of prejudice to
23    Plaintiff, the Court declines to strike these defenses and instead construes them as non-
24    affirmative defenses and/or denials.
25                     8. Punitive Damages: Ammo A-Z Affirmative Defense 25
26           Ammo A-Z Affirmative Defense 25 asserts that a punitive damages award is
27    barred because Plaintiff’s alleged harm was not the result of Defendant’s acts or
28    omissions, and such acts or omissions were not performed knowingly, intentionally, or


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 1    willfully. (Doc. 56 at 56.) Plaintiff argues that this is a “good faith” defense that merely
 2    denies an element of Plaintiff’s punitive damages claim. (Doc. 64 at 18.) Plaintiff
 3    further argues that, to the extent its punitive damages claim does not require proof of
 4    intent or a particular mental state to establish liability, the good faith defense is
 5    immaterial and impertinent. (Id.) Ammo A-Z argues that a denial of the availability of
 6    punitive damages is a proper affirmative defense and that this defense provides fair
 7    notice. (Doc. 77 at 11.)
 8           Although some courts have found that an assertion that Plaintiff has not proved an
 9    entitlement to punitive damages is not a true affirmative defense, see Roe v. City of San
10    Diego, 289 F.R.D. 604, 610 (S.D. Cal. Mar. 5, 2013), Plaintiff’s entitlement to punitive
11    damages is an issue in this case, Kanaan, 709 F. Supp. at 870, and Plaintiff has identified
12    no prejudice from Ammo A-Z’s assertion of this defense as an affirmative defense rather
13    than as a non-affirmative defense or denial. Accordingly, the Court will deny Plaintiff’s
14    Motion to Strike with respect to Ammo A-Z Affirmative Defense 25.
15                       9. Negligent Entrustment: DHSS Affirmative Defense 26
16           DHSS Affirmative Defense 26 alleges that Plaintiff’s negligent entrustment claim
17    fails because there is no negligent entrustment action in the context of the sales of chattel.
18    (Doc. 52 at 59.) Plaintiff argues that this defense merely asserts a defect in Plaintiff’s
19    prima facie case and therefore is not an affirmative defense. (Doc. 65 at 19.) DHSS
20    Defendants concede that this defense does not technically constitute an affirmative
21    defense, and they ask the Court to treat it as a denial and/or non-affirmative defense.
22    (Doc. 76 at 12.)
23           Given the disfavored nature of Rule 12(f) motions and the lack of prejudice to
24    Plaintiff, the Court declines to strike DHSS Affirmative Defense 26 and instead construes
25    it as a non-affirmative defense and/or denial.
26           D. Legal Insufficiency
27           Plaintiff argues that DHSS Affirmative Defenses 19, 20, 23-25, 27, 29 and 31, and
28    Ammo A-Z Affirmative Defenses 18, 37-38, and 40, are insufficient as a matter of law or


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 1    are otherwise defective. (Doc. 64 at 18-22; Doc. 65 at 19-23.)
 2                     1. Law of the Case: DHSS Affirmative Defense 19
 3           DHSS Affirmative Defense 19 alleges that all or a portion of Plaintiff’s claims are
 4    barred by the law of the case doctrine. (Doc. 52 at 59.) Plaintiff argues that the law of
 5    the case doctrine has no bearing because no court has passed judgment on this action.
 6    (Doc. 65 at 19-20.) DHSS Defendants argue that the law of the case doctrine is a valid
 7    affirmative defense, and that some or all of Plaintiff’s claims are barred by this Court’s
 8    decision on Defendants’ Motion to Dismiss. (Doc. 76 at 14-15.)
 9           The Court agrees that its decision resolving Defendants’ Motion to Dismiss limits
10    Plaintiff’s claims, and Plaintiff has identified no prejudice from Defendants’ assertion of
11    this defense. Accordingly, the Court will deny Plaintiff’s Motion to Strike with respect to
12    DHSS Affirmative Defense 19.
13                     2. Spoliation: DHSS Affirmative Defense 20 and Ammo A-Z
14                         Affirmative Defense 37
15           DHSS Affirmative Defense 20 and Ammo A-Z Affirmative Defense 37 allege that
16    Plaintiff spoliated discoverable and/or admissible evidence. (Doc. 52 at 59; Doc. 56 at
17    59.) Plaintiff argues that spoliation is a rule of evidence rather than an affirmative
18    defense. (Doc. 64 at 20-21; Doc. 65 at 20.) Plaintiff further argues that Defendants’
19    spoliation defenses fail to provide fair notice of what evidence was allegedly destroyed
20    and why Defendants believe Plaintiff purposely destroyed relevant evidence. (Doc. 64 at
21    21 n.16; Doc. 65 at 20 n.18.) Finally, Plaintiff contends that this defense violates the act
22    of state doctrine to the extent it contends Mexican government officials destroyed
23    relevant evidence in Mexico. (Doc. 64 at 21 n.16.) Defendants argue that spoliation is a
24    valid affirmative defense; that DHSS Affirmative Defense 20 and Ammo A-Z
25    Affirmative Defense 37 provide fair notice when read in light of the allegations of
26    Plaintiff’s Complaint; and that Defendants should be entitled to conduct discovery on this
27    issue, given that the information related to this defense is within Plaintiff’s custody and
28    control. (Doc. 76 at 15; Doc. 77 at 14.)


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 1           “[S]poliation is not an affirmative defense, but, rather, a sanction for discovery
 2    and evidentiary violations.” Rein v. Thrifty Payless, Inc., No. 2:19-cv-00522-BJR, 2021
 3    WL 1401569 at *5 n.2 (W.D. Wash. Apr. 14, 2021). Defendants have not shown a need
 4    to assert spoliation as an affirmative defense in order to raise the issue during this
 5    litigation if grounds for spoliation arguments arise. Furthermore, Defendants have not
 6    adequately identified what relevant evidence Plaintiff has purportedly destroyed.
 7    Because the assertion of these defenses is unnecessary, the Court will strike DHSS
 8    Affirmative Defense 20 and Ammo A-Z Affirmative Defense 37, without leave to amend.
 9                      3. Constitutional Defenses: DHSS Affirmative Defenses 23-25, 27,
10                         and 29; Ammo A-Z Affirmative Defenses 18 and 38
11           DHSS Affirmative Defenses 23-25, and Ammo A-Z Affirmative Defense 38,
12    allege that Plaintiff’s claims violate the First and Second Amendments to the United
13    States Constitution, as well as the Commerce Clause. (Doc. 52 at 59; Doc. 56 at 59.)
14    DHSS Affirmative Defense 27 and Ammo A-Z Affirmative Defense 18 allege that
15    Plaintiff’s claims violate the separation of powers in that Plaintiff is seeking to have the
16    judicial branch create legislative policy.     (Doc. 52 at 59; Doc. 56 at 55.)         DHSS
17    Affirmative Defense 29 alleges that Plaintiff’s Complaint is barred by the Seventh
18    Amendment to the United States Constitution because the Complaint aggregates
19    unidentified shootings by unidentified persons in unidentified circumstances over an
20    unspecified period. (Doc. 52 at 59.)
21           Plaintiff argues that, in determining the legal sufficiency of affirmative defenses,
22    the Court must accept that the Plaintiff will prevail on the merits of the action and that, if
23    Plaintiff prevails on the merits, the First and Second Amendments cannot protect
24    Defendants. (Doc. 64 at 21-22; Doc. 65 at 20-22.) Plaintiff further argues that neither
25    the Seventh Amendment nor the Commerce Clause bars legal claims, and Defendants’
26    defenses referencing the Seventh Amendment and the Commerce Clause fail to provide
27    fair notice. (Doc. 64 at 22 n.17; Doc. 65 at 22-23.) Plaintiff contends that casting its
28    claims as a violation of separation of powers “is a political bromide, not a legally


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 1    cognizable affirmative defense.” (Doc. 64 at 19-20; Doc. 65 at 22.) Plaintiff further
 2    argues that Defendants’ Answers fail to provide fair notice of separation-of-powers
 3    defenses because they do not state how or why Plaintiff seeks to have the judicial branch
 4    create legislative policy. (Doc. 64 at 20 n.14; Doc. 65 at 22 n.20.)
 5           Defendants argue that they have a right to assert constitutional defenses that may
 6    prohibit or limit Plaintiff’s claims, and that Plaintiff should not be allowed to obtain a
 7    ruling on the applicability and merits of these defenses before discovery has been
 8    completed. (Doc. 76 at 15-17; Doc. 77 at 13-14.)
 9           The Court construes Plaintiff’s arguments concerning the First and Second
10    Amendments as arguments that these defenses are not true affirmative defenses. Even if
11    the defenses are more appropriately construed as non-affirmative defenses or denials,
12    however, Plaintiff has not shown that striking the defenses is warranted, given the
13    disfavored nature of Rule 12(f) motions and the lack of prejudice to Plaintiff. The
14    parties’ briefs are inadequate for the Court to determine at this juncture whether “it
15    appears to a certainty that” Plaintiff “would succeed despite any state of the facts which
16    could be proved in support of” Defendants’ other constitutional defenses. Barnes, 718 F.
17    Supp. 2d at 1170. Accordingly, Plaintiff’s Motions to Strike will be denied with respect
18    to Defendants’ constitutional defenses.
19                     4. Incorporation by Reference: Ammo A-Z Affirmative Defense 40
20           Ammo A-Z Affirmative Defense 40 incorporates by reference the defenses raised
21    by other Defendants. (Doc. 56 at 60.) Plaintiff argues that this is not a legally cognizable
22    affirmative defense. (Doc. 64 at 22.) Ammo A-Z argues that this affirmative defense is
23    proper when there are multiple defendants in an action. (Doc. 77 at 15 n.3.)
24           Plaintiff has not shown that it is improper for Ammo A-Z to incorporate other
25    Defendants’ defenses by reference. Accordingly, the Court will deny Plaintiff’s Motion
26    to Strike with respect to Ammo A-Z Affirmative Defense 40.
27                     5. Reservation of Defenses: DHSS Affirmative Defense 31
28           DHSS Affirmative Defense 31 reserves the right to amend Defendants’ Answers


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 1    to raise additional affirmative defenses that may be disclosed during discovery. (Doc. 52
 2    at 60.) Plaintiff argues that this is not a legally cognizable affirmative defense because it
 3    provides no basis for avoiding liability. (Doc. 65 at 23.) DHSS Defendants concede that
 4    this defense does not constitute an affirmative defense, and they ask the Court to treat it
 5    as a mere recitation of the procedures provided by the Federal Rules of Civil Procedure.
 6    (Doc. 76 at 3, 17.)
 7             Because DHSS Affirmative Defense 31 merely recites the procedures that govern
 8    this action under the Federal Rules of Civil Procedure, the defense is redundant and
 9    unnecessary.    Accordingly, the Court will grant Plaintiff’s Motion to Strike DHSS
10    Affirmative Defense 31, without leave to amend.
11             IT IS ORDERED that Plaintiff’s Motions to Strike Affirmative Defenses (Docs.
12    64, 65) are partially granted and partially denied, as set forth above and summarized
13    below:
14                      1. The Motions to Strike are denied with respect to the following:
15                                    • DHSS Affirmative Defenses 1-4, 6-11, 12 to the extent
16                                       it asserts an unclean hands defense, 13-14, 16-19, 22-
17                                       30.
18                                    • Ammo A-Z Affirmative Defenses 2-11, 13-28, 34-35,
19                                       38-40.
20                      2. The Court strikes the following affirmative defenses:
21                                    • DHSS Affirmative Defenses 5 and 12, with leave to
22                                       amend.
23                                    • DHSS Affirmative Defenses 20 and 31, without leave
24                                       to amend.
25                                    • Ammo A-Z Affirmative Defenses 1, 31, 32, and 33,
26                                       with leave to amend.
27    ....
28    ....


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 1                               • Ammo A-Z Affirmative Defense 37, without leave to
 2                                   amend.
 3         Dated this 15th day of November, 2024.
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